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EXIHIBIT i
Case 1:20-cv-10800-FDS Document 10-1 Filed 07/30/20 Page 2 of 39
7/30/2020 Tracking | UPS - United States

Proof of Delivery

Dear Customer,
This notice serves as proof of delivery for the shipment listed below.

Tracking Number
1Z5AR1832937168553

Weight

0.50 LBS

Service

UPS Next Day Air Saver)
Shipped / Billed On
07/23/2020

Additional Information

Signature Required

Delivered On
07/27/2020 9:08 A.M.
Delivered To
BOSTON, MA, US
Received By

KING

Left At
Receiver

Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
the last 120 days. Please print for your records if you require this information after 120 days.

Sincerely,
UPS
Tracking results provided by UPS: 07/30/2020 12:29 P.M. EST
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EXIHIBIT 2
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PAUL JONES

Plaintiff Civil Action No.
V.

BANK OF NEW YORK TRUSTEE FOR THE CERTIFICATE HOLDERS
CWABS, INC, ASSET- BACKED CERTIFICATE , SERIES 2004-7
SANDRA ROBINSON

SELECT PORTFOLIO SERVICING INC

Defendants

FIRST AMENDED VERIFIED COMPLAINT

1. This is an action brought by plaintiff Paul Jones against defendant The Bank of New York
Trustee , for wrongful foreclosure of his home. The foreclosure of plaintiffs home is void as it
violated the statutory power of sale for three reasons: (1) because the notice of default and
acceleration was sent by the servicer, not the defendant BNY whom claims to be the Lender as
required by the terms of the mortgage. The SJC stated and explained the new rule's application
to mortgage foreclosure sales of properties that are the subject of a mortgage containing
paragraph 22 or its equivalent and for which the notice of default required by paragraph 22 is
sent after July 17, 2015 (Date of Pinti case commencement of the statute.) as in this case
defendant SPS the servicer not the holder of the mortgage send the default notice , Acceleration
and cannot get around it. The servicer (SPS) not the defendant BNY (So called Lender) whom

claims to be the Lender as required by the terms of the mortgage section 22
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(2) because no notice of the foreclosure was sent to the Town of Stoughton by defendant BNY
within 30 days, as required G.L.c.244, § 15A (3) because the notary failed to keep a notary log of
records that contained the date of each instrument notarized with the names of signors, grantors
or makers, the name and mailing address of the grantee, the name of the original grantee and the
county where the land is located”; “and a brief description of the instrument”. As required by the
Texas Government Notary Public Act Sec. 406.014. (4) Defendants were not in possession of the
mortgage & note at the time they made the Confirmatory of assignment of mortgage dated
October 28 2008 or the assignment dated February 25, 2008, The SJC has stated “In
Massachusetts, a “confirmatory assignment” of a mortgage is a written document that may be
executed and recorded after the foreclosure of the mortgaged property when the written
assignment of the mortgage was executed before the foreclosure but was not in recordable form”
the confirmatory assignment that defendants relies on was not was not recorded after the
foreclosure at issue the SJC uses the word “AND”. (5) The notary of the controlling assignment
that has a Confirmatory assignment confirming it was altered by a person (Tiffany Skaife) that is
not and was not at the time the assignment was made so said by the notary of that assignment
Sandra Robinson and section were left blank by the notary. (6) Defendants confirmatory
assignment did not take place after the foreclosure the SIC stated that “If a valid pre-foreclosure
assignment took place, a “confirmatory assignment may be executed and recorded after the
foreclosure and doing so will not make the title defective.” (7) Defendants do not have a written

assignment of the Note only the mortgage.
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PARTIES
Plaintiff Paul Jones (Plaintiff) is a natural person residing in Stoughton, Massachusetts,
Norfolk County.
Defendant Bank of New York Trustee for the Certificate Holder CWABS,INC, Asset-Backed
Certificate, Series 2004-7 (BNY) is a Delaware Corporation and has a usual place of business at 101
Barclays Street New York, NY 10286
Defendant Select Portfolio Servicing, Inc. (‘SPS") is a residential loan servicing company with
headquarters located at 3217 S. Decker Lake Drive, Salt Lake City, Utah 84119.
Sandra J. Robinson (“ Sandra”) is a natural person residing in Aubrey, Texas, Denton County an

ex-employee of Countrywide/ Bank of America and a previous Notary for the state of Texas.

JURISDICTION

This court has jurisdiction over this matter pursuant to 28 U.S.C. §1332.
Venue is proper in this Court pursuant to 28 U.S.C. 1391(b) in as much as the challenged
actions are alleged to have been committed in this District, all Defendants regularly conduct
business in this District, and the named Plaintiff reside in this District.
Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331, Declaratory
relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

Jurisdiction of this Court arises under complete diversity between the parties to a lawsuit

exceeds the sum or value of $75,000 jurisdiction under 28 U.S.C. § 1332(a)(1).
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FACTS
All conditions precedent to the bringing of this action has been performed, the amount in
controversy exceeds $75,000 in this complaint.
Plaintiff's states as an initial matter that due to the extremely complicated subject matter
attendant to this area of the law, it is extremely difficult (if not impossible) to not be somewhat
verbose, as the “securitization” of mortgages and foreclosure is about as unfathomably deep as
a subject can get, and the Plaintiff's apologies in advance for the extent of this complaint.

Plaintiff resides at the property at issue, 572 Park Street, Stoughton, Ma 02072.

Plaintiff acquired the home in 2002 under a deed recorded in the Norfolk, County registry of

deeds at book 16766, page 1.

On June 22, 2004, Plaintiff refinanced and entered into a loan arrangement with Optima

Mortgage Corporation as the “originator” (this Mortgage was one insured by the FHA),

through the execution of a purported promissory note made payable specifically to Optima

Mortgage Corp in the amount of $275,550.00 under Massachusetts state law, the contractual

right to enforce the power of sale in his mortgage.

The loan was secured by a mortgage in favor of Mortgage Electronic Registration Systems, Inc

as nominee for Optima Mortgage Corporation, as nominee for Optima Mortgage Corporation

the mortgage is recorded at the Norfolk, County Registry of deeds at book 22224 page 219.
Due to the loss of income from plaintiffs Home Improvement Company plaintiff fell behind in
his mortgage payments.

on August 2, 2005 Countrywide Home Loan Servicer LP sent plaintiff a deficient notice of

acceleration of mortgage / notice of default (they were not the Lenders), Countrywide August

2, 2005 notice of default did not strictly comply with paragraph 22 of the mortgage, as required
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under the statutory power of sale and under the Massachusetts Supreme Judicial Court’s
(“SIC”) case law.
The date of August 2, 2005 Countrywide’s notice of default to Plaintiff, Optima Mortgage
Corporation was the lender and Countrywide Home Loan Servicer LP was the servicer of the
loan.
On or about November 6, 2006, BNY filed a complaint with the Massachusetts Land Court
complaint. In that complaint, BNY alleged that where the Lender and holder of plaintiff
mortgage which was false.
Plaintiff filed a Chapter 13 petition on February 7, 2007 due to his loss of income and the
unlawful December 7, 2007 foreclosure sale of his home.
On May 17, 2007 In the Bankruptcy Court, Countrywide Home Loans, Inc. filed a motion for
relief from stay ((MFRS”) claiming to be the present holder of plaintiffs Mortgage, plaintiff
attorney successfully argued that Court, Countrywide Home Loans, Inc was not the owner of
record and did not have a valid assignment attached to their MFRS, and that defendant BNY
claimed to be the owner of record (Lender) on November 6, 2016 when BNY filed a
Servicemembers Civil Relief Act, Complaint to foreclose (SCRA) complaint to foreclose in
the Massachusetts Land Court, Countrywide Home Loans conceded and dismissed there
Motion from relief from stay.
On August 8, 2007 In the Bankruptcy Court defendant BNY filed a motion for relief from stay
and attached a mortgage assignment that was undated but notarized on November 20, 2006,
from MERS as nominee of Optima Mortgage Corporation to Bank of New York as Trustee for
Certificate Holders, CWABS, Inc., Asset-Based Certificates, Series 2004-7, claiming that

defendant MERS assigned the mortgage & Note to BNY.

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Plaintiffs’ attorney pointed out that this assignment was notarized 14 days after defendant filed
their Complaint to foreclose in the land court (Exhibit 3), plaintiff ran out of money and the
MERS was unopposed.

On December 3,2007 defendants foreclosed on plaintiffs property without sending plaintiff a
default and acceleration notice, they relied upon Countrywide’s August 2, 2005 notice of
default and acceleration notice to plaintiff which was contrary to statutory power of sale G.L.c
183 § 21.

On or about January 2008 defendants BNY filed several summary processes in the Stoughton
district court, the judge ordered BNY on each accasion to produce evidenced that they had a
valid assignment of mortgage before they filed the complaint to foreclose in the Land Court
and ultimately foreclosed on plaintiffs’ home.

One or about March 13 , 2008 the defendants own attorney conceded in Stoughton District
court that, all three Summary process complaints alleged no notice of defanit / acceleration
came from the claimed Lender BNY to the plaintiff and that defendant BNY relied on 4
assignments, 2 which were in blank, one assignment undated but notarized on November 20,
2006, 14 days after BNY filed a Complaint to foreclose in the Land court and a 4" assignment
dated October 10, 2006 and notarized on January 25, 2008, which was otherwise an identical
assignment from MERS as nominee of Optima Mortgage Corporation to Bank of New York as
Trustee for Certificate Holders, CWABS, Inc., Asset-Based Certificates, Series 2004-7. It was
recorded February 25, 2008, before BNY’s foreclosure deed to itself. The notary’s handwritten
revision of the prepared notarization date from October 10, 2006 to January 25, 2008 (Back
dated) was worthy of note, judge Karen White dismissed the Summary processes with

prejudice (Exhibit 7 Court Transcript).
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One or about the Fifth assignment purports to be a confirmatory assignment, it purportedly
confirms the Fourth assignment that was recorded in the Norfolk Registry of deeds on
February 25,2008 Book 25529 Page 356 from MERS on behalf of Option One dated October
10, 2006.

The SJC and Massachusetts controlling case law has long held that a confirmatory assignment,
however, cannot confirm an assignment that was not validly made earlier or backdate an
assignment being made for the first time, if a lender records a true confirmatory assignment, it
must do much better than simply state an effective date.

On Jul 31, 2019 BNY attorneys in their supporting memorandum to dismiss a FDCPA claim
BNY has stated in this federal district court and in the Stoughton District court Summary
process on or about May 9 2019 & February 26, 2019 that they have rescinded the December
2007 foreclosure and it is irrelevant, plaintiff relied on these documents and statements to
frame this complaint.

On or about April 26, 2017 Select Portfolio Servicing Inc (“SPS”) sent plaintiff a notice of
default / acceleration on September 11, 2018 and they were not the lenders and caused an
affidavit to these facts to be recorded in the Norfolk Registry of deed Book 36285 page 536.
Bank of NY did not demonstrate a simple chain of title that well established its record
ownership of the mortgage

These assignments never could have taken place under BNY own rules of their own PSA,
Massachusetts controlling caselaw states that MERS cannot transfer a note, plaintiffs contend
that MERS cannot assign the note because MERS never held the note,

MERS was never in possession of the note to transfer it to defendant BNY, BNY has no

“substantive right to enforce the note and mortgage as a holder through MERS transfer of
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plaintiff note, plaintiff request a declaration that the transfer of the note to BNY is void and or

voidable under Massachusetts Law as defendant BNY did not have substantive right to enforce
plaintiffs note under either assignment when MERS reportedly transferred plaintiffs Note with
the mortgage.

More to the point a mortgagee must have a valid claim to the debt before attempting

‘ foreclosure, MERS’ own Terms and Conditions of Membership published on MERS, Inc

website at www.mersinc.org states MERS, Inc further indicates that it does not ever have
beneficial interest in mortgage notes. It states, “that it has no rights whatsoever for creating or
transferring beneficial interest in the mortgage loans. MERS specifically states in Defining the
Mortgage Electronic Registration System, once in the MERS System, MERS becomes the
Mortgagee of record for its members, but the original lender or subsequent party who
purchased the note retains physical possession of the note.

A lender does not have standing to commence a foreclosure action when the lender’s assignor
was listed in the underlying mortgage instruments as a nominee and mortgagee for the purpose
of recording, but never actually held the underlying notes

Plaintiff challenges the 2018 foreclosure sale due to invalid assignments this is a concrete and
particularized injury in facts under Spokeo, a causal connection that permits tracing.the.
claimed injury to the defendant’s BNY actions, and Plaintiff has a likelihood that prevailing in
the action will afford some redress for the injury.

Defendant BNY did not posse the promissory note underlying the mortgage when the

foreclosures occurred on or about April 9, 2018.
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The relevant documents appear to have not been created in accordance with MERS practices
for authorizing and assigning only mortgages. MERS has no substantive rights itself to
plaintiffs Note, and, therefore, cannot assign what it did not have.

In addition, there is no evidence of proper Chain of Title of the Mortgage or the Note from the
Original Lender to the Trustee. The Note has no endorsements on it showing it was ever
transferred to any other entity.

The controlling assignments the defendant BNY relies on was notarized by Sandra J. Robinson
in Texas she did not keep a notary log of records of the date of each instrument notarized”,
“the name of the signer, grantor, or maker”;, “the name and mailing address of the grantee”;,
“if land is conveyed or charged by the instrument”, “the name of the original grantee and the
county where the land is located”; “and a brief description of the instrument”. As required by
the Texas Government Notary Public Act Sec. 406.014.

Entries in the notary's book are public information under the above Texas Notary Act, Sandra
J. Robison was unable to provide plaintiff with a certified copy of the record of her official acts
notarizing the assignments at issue that defendants BNY relied on to conduct the foreclosure
on plaintiff's home. (Exhibit ), as required by Sec. 406.014(c) of the Texas Government
Notary Public Act which states “A notary public shall, on payment of all fees, provide a
certified copy of any record of official acts in the notary public's book of record to any person
requesting the copy” this made the Notarization on the assignments Void.

Also when Sandra J. Robinson the notary signed and sealed the assignment in question, she left
boxes blank which is contrary to Sec. 406.014(c)
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Notarize documents such as assignments must be according to law and these legal documents
cannot contain blank spaces or boxes, assignments are void and cannot be used to foreclose on
plaintiff property.

On October 30, 2012 Sandra J. Robinson informed a local Texas Investigator / Process Server
William N. Albright that she worked for Countrywide Mortgage / Bank of America along with
Tiffany Skaife, Sandra Robinson state while at Countrywide Mortgage / Bank of America she
never kept a notary log of documents she signed or notarized it would have been too difficult
(Exhibit Affidavit of William N. Albright).

Sandra J. Robinson also stated that Tiffany Skaife crossed out the date on the assignment and
added the date of 01/25/08, she iterated that she makes her #8 with to circles not the way the 8
was draw it was not her handwriting (Exhibit William Albright Affidavit).

At that time William N. Albright asked Sandra if she was in fact ever an employee of
Countrywide / Bank of America and she admitted that she was a bonified employee of
Countrywide / Bank of America during 2008 and prior to Sandra Robinson stated according to
his affidavit.

Sandra Robinson stated that she made no effort to keep a notary log of each document she
notarized .

Sandra Robinson stated that if it was ever repeated to someone, she would deny ever saying it.
William N. Albright showed Sandra Robinson a copy of the mortgage assignment dated
January 25, 2008.

Sandra Robinson stated the Tiffany Skaife changed the date of the document whom is not a

notary public in Texas or Massachusetts on January 25,2008.

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Sandra Robinson stated specifically that that the way the number “8” was made on the
assignment was not typically of how she (Sandra) would make the numeral “9”.

Sandra Robinson stated she would have made it with two circles on top of each other not the
way it was drawn, she reiterated several times that she did not change the date, the way the
date is written is not her handwriting.

Sandra Robinson stated that Tiffany Skaife worked directly in back of her at countrywide
mortgage., Sandra stated that the assignment came from Countrywide Mortgage

Sandra Robinson stated that Tiffany Skaife would often hand her as many as Five documents at
a time for her to notarize, and she would Notarize them without looking at them or filling out a
Notary log.

Entries in the notary's book are public information under the above Texas Notary Act, Sandra
J. Robison was unable to provide plaintiff with a certified copy of the record of her official acts
notarizing the assignments at issue that defendants BNY relied on to conduct the foreclosure
on plaintiff's home. (Exhibit ), as required by Sec. 406.014(c) of the Texas Government
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certified copy of any record of official acts in the notary public's book of record to any person
requesting the copy” this made the Notarization on the assignments Void.

Also when Sandra J. Robinson the notary signed and sealed the assignment in question, she left
boxes blank which is contrary to Sec. 406.014(c)

Notarize documents such as assignments must be according to law and these legal documents

cannot contain blank spaces or boxes, assignments are void and cannot be used to foreclose on

plaintiff property.

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The third & Fourth assignment of Mortgage transferred by MERS as Nominee for Optima
Mortgage Corporation in the witness whereof statement, the date is missing, the names are
stamped in block letters, boxes are left blank, the date the notary signed it first had 10/10/06,
that date was crossed out and 01/25/08 was written in and notarized on January 25,2018 by
Sandra J. Robinson.
Sandra J. Robinson informed a local Texas Investigator / Process Server William N. Albright
that she worked for Countrywide Mortgage / Bank of America along with Tiffany Skaife,
Sandra Robinson state while at Countrywide Mortgage / Bank of America she never kept a
notary log of documents she signed or notarized it would have been too difficult (Exhibit 7
Affidavit of William N. Albright).
Sandra J. Robinson also stated that Tiffany Skaife crossed out the date on the fourth
assignment and added the date of 01/25/08, she iterated that she makes her #8 with to circles
not the way the 8 was draw it was not her handwriting (Exhibit William Albright Affidavit).
Defendants Assignment and Confirmatory Assignment of Mortgage is not consistent with the
Supreme Judicial Court of Massachusetts’ decision in Jbdfiez and is void on its face.
The SJC has also stated that the defendants BNY would have to hold both the mortgage and
the note in order to foreclose which they did not the Note is made out to Bank of America not
the defendants BNY.
The foreclosure in this case took place after the SJC issued Eaton v. Fed. Nat'l Mort. Ass'n,
462 Mass. 569, 969 N.E.2d 1118 (2012), where the court “construe[d] the term [“mortgagee”]
to refer to the person or entity ... holding the mortgage [at the time the foreclosure initiates]
and also either holding the mortgage note or acting on behalf of the note holder. Before Eaton,

it was understood that the mortgagee seeking to execute only had to possess the mortgage to

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initiate the procedures. The SJC expressly made that ruling prospective, the defendants did not
both the note and the mortgage, at the time they foreclosed.

Plaintiff is neither a party to nor a third-party beneficiary of the Pooling & Service Agreement
plaintiff alleges enough facts to set forth a plausible claim for violations of Section 14 under
this theory.

Plaintiff is questioning whether legal binding assignment and confirmatory assignment took
place before the foreclosure began, as Section 14 requires which it did not.

Plaintiff questions whether the entity that foreclosed on his property actually had the power of
sale at the time the foreclosure took place. It is, therefore, not a question of the validity of the
assignment under the PSA, but a question of the timing of the assignment in relation to the
initiation of the foreclosure proceedings.

The defendants (BNY) in this case did not hold the mortgage and or Note at the time they
foreclosed and, therefore, had no right to exercise the power of sale under Section 14.

The recorded Confirmatory assignment was dated and notarized on October 21, 2008, and the
Assignment of mortgage dated February 25, 2008 this assignment also it states the MERS
assigns the Mortgage and the Note.“MERS, as nominee for Lender and lender's successors
and assigns”, A nominee of the owner of a note and mortgage may not effectively assign the
note and mortgage to another for want of an ownership interest in said note and mortgage by
the nominee.

In which the MERS system is structured provides that, "[w]hen the beneficial interest in a
loan is sold, the promissory note is transferred by an endorsement and delivery from the buyer

to the seller , but MERS Members are obligated to update the MERS(r) System to reflect the

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change in ownership of the promissory note. However, there is nothing to prove that the Note
in this case was transferred other than a Note that was transferred to Bank of America in 2013.
What is undisputed is that MERS did not have any rights with respect to the Note, a nominee
(MERS) of the owner of a note and mortgage may not effectively assign the note and
mortgage to another for want of an ownership interest in said note and mortgage by the
nominee.

MERS's "nominee" status and the mortgage note documents doesn’t give MERS authority to
assign (nominee is "‘[a] person designated to act in place of another, usually in a very limited
way.'") (quoting Black's Law Dictionary)).

While the assignments purports to assign both the mortgage and the note, MERS| which is a
registry system that tracks the beneficial ownership and servicing of mortgages, MERS was
never the holder of the note, and therefore lacked the right to assign it. While MERS was the
mortgagee of record, it was acting only as nominee, its successors and assigns. MERS is never
the owner of the obligation secured by the mortgage for which it is the mortgagee of record.
To be effective, therefore, an allonge must be affixed to a promissory note which it is not see
Exhibit

Assignment of Mortgage was by MERS, as nominee for Optima Mortgage, the original
lender. at the time the assignment was effectuated, Optima mortgage no longer held any
interest in the Note according to the defendants Pooling and Service Agreement. Which the
note and mortgage was transferred to on or about September 28, 2004, but the defendants
have produced a note that was purchased by Bank of America on or about 2013.

The purported allonge is not affixed to the note, then despite having possession of the note,

BNY lacks the status of "holder" as defined by UCC § 1-201(20).

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In the rush to originate and assign as many mortgages as possible, and in the face of an over
whelming volume of foreclosures to be processed, mortgagees and their assignees often failed
to assign the mortgages properly and, in some instances, committed fraud or other
unauthorized acts in order to correct the assignment paper trail.

If a judicial system intends to treat debtors as being responsible for complying with the terms
of the mortgage contract itself, it would be reasonable to expect that system to demand that
the other parties to the contract abide by similar formalism.

Courts should not permit the defendants, mortgagees and their assignees to subvert, supplant,
and circumvent the very formalities that they utilize to foreclose upon the debtors.

The controlling assignment is not valid, and the defendants is demanding that the defendants ,
assignee prove that the January 28, 2008 assignment is valid.

The defendants, assignee never had good legal title to plaintiff’s property the assignment is

invalidly assigned, voidable, Void and entirely ineffective.

COUNT 1
VIOLATION OF THE MORTGAGE POWER OF SALE
G.L.c 183, § 21
ALL DEFENDANTS
Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted and.

realleged here.

Massachusetts permits non-judicial foreclosure under the statutory power of sale contained in
G.L.c 183, § 21, Section 21. The following "power" shall be known as the "Statutory Power of
Sale”, and may be incorporated in any mortgage by reference:

(POWEROF SALE)

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82. But upon any default in the performance or observance of the foregoing or other condition,

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the mortgagee or his executors, administrators, successors or assigns may sell the mortgaged
premises or such portion thereof as may remain subject to the mortgage in case of any partial
release thereof, either as a whole or in parcels, together with all improvements that may be
thereon, by public auction on or near the premises then subject to the mortgage, or, if more
than one parcel is then subject thereto, on or near one of said parcels, or at such place as may
be designated for that purpose in the mortgage, first complying with the terms of the mortgage
and with the statutes relating to the foreclosure of mortgages by the exercise of a power of
sale, and may convey the same by proper deed or deeds to the purchaser or purchasers
absolutely and in fee simple; and such sale shall forever bar the mortgagor and all persons
claiming under him from all right and interest in the mortgaged premises, whether at law or in
equity.
The Supreme Judicial Court has held that a mortgagee must strictly comply with the terms of
the power of sale. U.S Bank Nat'l Ass’n. v. Ibanez, 458 Mass. 637, 646 (2011) (“[O]ne who
sells under a power [of sale] must follow strictly its terms. If he fails to do so there is no valid
execution of the power, and the sale is wholly void.") (quoting Moore v. Dick, 187 Mass. 207,
211 (1905), See Roche v.Farnsworth, 106 Mass. 509, 513 (1871) (power of sale contained in
mortgage "must be executed in strict compliance with its terms .
Under the terms of plaintiffs mortgage, the “lender” must send a notice of default advising
plaintiff of certain facts before the mortgage may be accelerated.
The servicer of plaintiffs mortgage SPS sent a notice of default on September 11, 2018 and
caused an affidavit to these facts to be recorded in the Norfolk Registry of deed Book 36285

page 536.

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86. At the time the notice of default was sent SPS was not the lender of the mortgage. Rather
defendant BNY was the claimed lender pursuant to an assignment of mortgage filed in the
Norfolk Registry of Deeds Book 25529 page 356,

87. Therefore the notice of default was deficient, and the power of sale was not complied with
prior to foreclosure. The April 2018 foreclosure is therefore void.

Wherefore: Plaintiff ask the court to grant attorney fee, damages, trebled damages, statutory
damages, fees & Cost, void of foreclosure injunctive relief and whatever court deems
appropriate.
COUNT 2
VIOLATION OF G.L. c 244 § 15A
DEFENDANTS BNY

88. Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted and
realleged here.

89. The statues related to foreclosures under G.L.c 183, § 21, are contained at G.L.c 244 §§ 11-

17C.

90. Failure to comply with any of these requirements voids a foreclosure sale .As set out in
Schumacher, a mortgagee’s failure to adhere to the requirements under the power of sale,
including G.L. c. 244, § 15A, will void a foreclosure sale. Schumacher, 467 Mass. 421 at 432.
“Where a [homeowner] claims that the mortgage holder failed strictly to adhere to the
requirements under the statutory power of sale set forth in G.L. c. 183, § 21, and the related
requirements in G.L. c. 244, §§ 11-17C, proof of any violation of these requirements will
void the foreclosure sale... .” Id. (Gants J., concurring). Additionally, in Bank of N.Y. v.
Bailey, 360 Mass. 327, 335 (2011), the Court overturned a motion for summary judgment and

voided a foreclosure when the mortgagee did not strictly comply with G.L. c. 244, § 15.

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Case 1:20-cv-10800-FDS Document 10-1 Filed 07/30/20 Page 21 of 39

Under G.L.c 244 15A, part of the power of sale, a mortgagee must notify the city tax assessor
or collector of the foreclosure within 30 days.

Section 15A. A mortgagee taking possession of mortgaged premises prior to
foreclosure or a mortgagee conveying title to mortgaged premises pursuant to the
provisions of this chapter shall, within thirty days of taking possession or conveying
title, notify all residential tenants of said premises, and the office of the assessor or
collector of taxes of the municipality in which the premises are located and any
persons, companies, districts, commissions or other entities of any kind which
provide water or sewer service to the premises, of said taking possession or
conveying title.

. BNY did not notify the city tax assessor, collector or the Town of Stoughton within 30 days of

the foreclosure.

The Defendant BNY did not make the required notification to the Town of Stoughton until more
than 4 months after the April 2018 foreclosure sale which was on or about September 11, 2018
(Exhibit ), this record is a true copy of the property record card published by the Town of

Stoughton and obtained by the plaintiff.

. Defendants BNY failed to notify the Town of Stoughton of the transfer violated G.L.c 244 §

15A,

As aresult, BNY did not strictly adhere to the foreclosure requirements under the statutory
power of sale. The foreclosure is therefore void.

Wherefore: Plaintiff ask the court to grant attorney fee, damages, trebled damages, statutory
damages, fees & Cost, void of foreclosure injunctive relief and whatever court deems

appropriate.

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COUNT 3
Unfair & Deceptive Trade Practice Act MGL 93a
95. Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted
and realleged here.

96. Defendants SPS and BNY failed to send plaintiff a Notice of default / acceleration which
complied with The mortgage of power of sale.

97. Defendants failed to comply with MGL c 244 with taking steps to make a good faith effort to
avoid foreclosure.

98. Defendants BNY failed to inform assessor office since 2008 that they were the new owners
due to multiple foreclosure sales: . A mortgagee taking possession of mortgaged premises
prior to foreclosure or a mortgagee conveying title to mortgaged premises pursuant to the
provisions of this chapter shall, within thirty days of taking possession or conveying title,
notify all residential tenants of said premises, and the office of the assessor or collector of
taxes of the municipality in which the premises are located and any persons, companies,
districts, commissions or other entities of any kind which provide water or sewer service to
the premises, of said taking possession or conveying title.

99. Defendant Sandra Robinson allowed Tiffany Skaife to fill in a mortgage assignment when she
was not a notary.

100. Defendant Sandra Robinson did not keep a log of plaintiff assignment under Texas notary
rules.

101. Defendant Sandra Robinson admitted that she could not give the plaintiff a certified copy of

the assignment or her ledger and that she did not have a copy to provide plaintiff with.

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102. Defendants BNY did not have an actual valid mortgage assignment or a Note (Both) assigned

to them before they started foreclosing on plaintiff or sold plaintiffs home.

Wherefore: Plaintiff ask the court to grant attorney fee, triple damages, trebled damages,

statutory damages, fees & Cost injunctive relief and whatever court deems appropriate.

COUNT 4
VIOLATION OF SECTION 19 of THE MORTGAGE
(PINT! & THOMPSON VIOLATION) (SPS & BNY)

103. Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted and
realleged here.

104. The notices that defendant SPS did not comply with paragraph 19 because it didn’t say
anything about the five-day deadline. Instead, the letter advised the borrowers that they could
reinstate “before” the foreclosure sale, which implied that a reinstatement payment
given fewer than five days before the sale would reinstate the loan, The notice did not fully
inform the borrowers about the five-day deadline to reinstate the loan, the breach letter was
deceptive. The court ultimately found that the letter was not in strict compliance with the
terms of the mortgage nor Massachusetts law, See Pinti v. Emigrant Mortg. Co., 472 Mass.

226, 33 N.E.3d 1213, 1220-21 (2015))

Wherefore: Plaintiff ask the court to grant attorney fee, damages, trebled damages, statutory
damages, fees & Cost injunctive relief , Void foreclosure and whatever court deems

appropriate.

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PLAINTIFF DEMANDS A JURY TRIAL

Respectfully Submitted July 22, 2020
Paul Jones

572 Park Street

Stoughton, Ma 02072

617-939-5417

Pj22765@gmail.com

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VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF MASSACHUSETTS

Plaintiff, Paul Jones, states as follows

1 am the Plaintiff in this civil proceeding.
I believe that this civil Complaint is well grounded in fact and warranted by existing
law or by a good faith argument for the extension, modification or law.

I] believe that this First Amended Verified Complaint is not interposed for any improper purpose, such as
to harass any Defendant(s). cause unnecessary delay to any Defendant(s), or create a needless increase
in the cost of litigation to any Defendant(s), named in this Complaint. | have filed this complaint in good
faith and solely for the purposes set forth in it. Each and every exhibit which has been attached to this
complaint is true and correct copy of the original.

Except for clearly indicated redactions made by me where appropriate, I have not altered, changed,
modified or fabricated these exhibits, except that some of the attached exhibits may contain some of my
own handwritten notations.

The plaintiff has reviewed the First Amended Complaint, regarding the allegations of which the plaintiff
has personal knowledge, the plaintiff knows or believes them to be true.

Regarding the allegations of which the plaintiff does not have personal knowledge, the plaintiff believes
them to be true based on specified information, documents, or both.

Pursuant to 28 U.S.C. § 1746(2), I, Paul Jones, hereby declare (or certify, verify or state) under penalty
of perjury that the foregoing pleading is true and correct.

Paul Jones /s/ Paul Jones
572 Park Street

Stoughton, Ma 02072
PJ22765@gmail.com

July 22, 2020

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EXHIBIT 1
NOTE
Case 1:20-cv-10800-FDS Document 10-1 Filed 07/30/20 Page 27 of 39

 

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nai 547 00 n Number: 0008
Eee Eee O ISTABLE RATENOTE

(6-Month LIBOR Index ~ Rate Caps)
(Assumable during Life of Loan) (First Business Day of Preceding Month Lookback)

THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY INTEREST
RATE AND MY MONTHLY PAYMENT. THIS NOTE LIMITS TRE AMOUNT MY
INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE MAXIMUM RATE I

MUST PAY,
WUNE 22, 2004 TUSTIN CALIFORNIA
(Das) ivy] [Sae}
572 PARK STREET, STOUGHTON, MASGSACHUBETTS 02074
Property Addruss|
4. BORROWER'S PROMISE TO PAY
sg ERR COLL Dies facia ace OSE (this amnaunt fs

ee plus interest, to ihe order of Ow Lender, The Lender ls OPTIMA MORTGAGE
CORPORA! A CALIFORNIA CORPORATION
Iwill make all payments under dhis Note in the form ofcash, check or monsy order,

T uncecotand that the Lander may (rensfor this Note. rns Lenore yan who lakes this Note by transfer
and who fs ented to recatve paymants moder this Note fa called the “Note Holder.”

2. INTEREST
eee be a os ee Se ee Iwill pay interest
ney 7.450 %, The lotarest rate I will pay will change Wn accordance with Sectlen 4 of this

Tho interest rate required by this Seetlon 2 and Socton 4 of this Note Is the rate T will pay both bafore and alter
any defanlt daceribed In Seriton 7(8) of this Nots,

3. PAYMENTS

(A) The aad Place of Payments

Twill pay pelocipal acd interes! by mikieg a payment svery month,

[will make my monthly payment onthe 1st Fe Cay or tock na MO AUGUBT 1 i
2004 TT TE ALa teore sayrvesd Orac¥ Wnts WORE L weve PAK. oll of Woe (oecoal ond neste

any othor charges described below that i may owe undar this Nate, Back monthly payment will be applied ay of is
sokedvlad due dale and will bs applled to tnferest before Prioclpal. If,on JULY 1, 2034 .
Jstil] owe amounls under this Note, I will pry those amounts in full on thad dale, which is called the "Maturity Dale."

L will make my monthly p anne 15941 REDHILL AVENUE SUITE #100,

TUSTIN, CALIFORNIA 52780
or af a different plece if raquired by tha Note Holder.

{B) Armcunt of My Indilal Monthly Payments
Each oF my Inida] monthly payments will bs In the amount of U.S. $12,910.30 . This
amounl muy change.

snes —
= ~ ee a

Bia 1592 N

 

 

 

 

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(¢) stony Paymant Changes

my monthly payment will refiect changes in (he tnpsld principal of my loan and fn Lho toterest rate

that I must pay. ae Note Hokder will determing my naw interest rate and the changed amount of my monthly
payeneat in sccordance with Section 4 of this Note.

4. a RATE AND MONTHLY PAYMENT CHANGES

Dates
‘The fnlerest rate T will pay may changecniis ist dsyof JULY, 2006 '
may Gaegeen ae erary axth sooth bereatter. SeLdile HEX os ena LA
"Change Date.” t.
®) The Index 4

eee Change Dats, my tnfarest rate will be based on an Index. The “Index” ts the six month i
London Laterbank Offered Rata ("LIBOR") which bs the average of kntecbank offered rales for #x-month U.S.
doliar-doncrainied deposits In the London market, as published in The Wall Street Journal. Tha most recent Index
Agure wvailable as of the firal business day of the month leunadiately preceding the month ip which tha Change Date
occurs [9 callad the “Current Index."

If the Jndex [3 no longer avallatle, the Note Holder will choose a new isle: which is based upon comparable
information. Tha Note Holder will give ms molce of this choice,

{C) Calcalaton of Changes
Befora sach Change Date, the Note Holder will caleulale my new interest rate by adding SIX AND
950/1000 percentage point(s) ( 6,550 %) to the Current Index.

The Note Holder will (hen rownd the result of this eddiden to oS percentage polnt
sete. Beek Sa Rehts reed ia Paci 100) below, this rounded amount will ba my new Infernst rate wotll

The Note Lighter will thea delamning tha ansount of the payment (hat would bs sufficlent to repay (be

uspaid princioa) (hel Tam expected to owe at Go Change Date (n full on tho Maturity Date at my new inlerest mute ;
in eubsantially cqual payments, Tha result of Wiis calculation will be the new amount of my monthly paymant, }

0D) Limits on Taterest eats Changes ‘
The Intereat rata I arn required to pry uf tho firs Change Date will zot be greater than 8.950 % '
or jess than 6,950 % Teen ey ae Tals SER TREE WR ren AS ee 1
Change Dainhy morethon ONE AND 500/1000 i i

Percentage poxnt |
( 1,500 %) from the mile of intecest I have been paying for the preceding ste months. My inlertat rele :
will never fo greater than 14,4450 %, tf

(B) Elfective Date of Changes r

My navy interest rate will become effective on each Change Date, I will pay tha amount of my new monthly \

paymaal beginning on the fistt monthly paymuend date after the Change Date wlll the umount of my monthly paymant |
changes agalc.

) Notice of Changes \

The Note Holder will daliver or mail to mas notte of any intecos{ ratc asd the amount of my a

monthly payment before the effective date of any change. “Thence Wil tela ¢ information required by law to be

given th ma and aleo the ile and telephoae umber of a perton who will answer any question [ may hava regarding

the notice. i

5, BORROWER'S RIGHT TO PREPAY ** See attached Prepayment Note Addenciazn,

1 have the right lo make payments of Principal at any Woe before they ars due, A panoed oon
ia known as a “Prepayment.” When Imako a Prepaymeal, Lbhpebe drb Letra rar
Immy nol chesigants a payment 232 Prepayment {21 have not niade all fhe ooothly payments due under the i,

 

 

 

? %,
Borrower Inidals: 5 ,
MURCTISTATE TRTABLE BATE HOLE j cay ee OLB TIT '
Hoge rene _ me Pope 2 of B :

 

 

 
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CO 3

Tray make 4 full Prepaymeat or partial Prepayments without paying a Prepayment charge. The Note Holder
will use my Prepayment to reduce (he amount of Principal that I owe usder this Nate. However, tha Nota Holder
may apply my Prepayment (o the accrued and unpald Interest on the Prepayment amount before applying my

(oreduce thu Principal amount of the Note, If makea parttal Prepaytoen, there yl be ao Changes $
the due dales of my monthly payment uniess the Nota Holdec agrees in wrillog to those changes. My ae
Prepaymeat may reduce the amomnl of ary monthly payments aller the first Change Date following my partlal
Prepaymual. However, any reduction due to my partial Prepayment may be offset by an Interest rite Increase.

§ LOAN CHARGES
Ifa law, which opplies to this lone and which sets reextmum loan charges, Is finally interpreted go drat (be
ae me aie Tae concent fo be rae re Oe this loan exceed the parrad(isd Jims,
then; (9) any such loan shall be reduced by the emount necessary (o reduce the change to the permaiited lial;
ad (0) any sume airesdy ected from me which exceeded permfited flentts will be refinded (9 me. Tha Note
Holder may choase lo make this refiad by reducing the Principal J owe under this Note or by making ¢ direc! payment
fo ms, Ha refund reduces Prinelpal, the reduction will ke irealed as @ parilal Prepaynmnt.

7. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Paymasts

If the Nots Holder has not recetved the full ammount of aay monthly payment by (ha end of 15
calendar day's after the date {l 's due, L will pay a lata charge to the Note Holder. The amount of the charge will be

3.000 % of my overdus payment of principal and Interest. 1 will pay this late charge peoroplly but only
once on each lets payment.

®) Defaxit

If1 do nol pay the full asnount of each monthly payment on the dale H is dee, I will be in default.

(C) Motics of Dafhutt

If Tam in default, the Note Holder muy send ma a wallten notice telling me tea U1 do not pay the overdus
amount by 4 certain data, tie Nolo Holder may require ute (u pay iomoeiliately dee {ull amounl of Principal which has
nol bean pald and all the interesi thal L owe on thel amount, Thal date must bs-a) loasi 30 days after tha dale os which
the notice fg raxiled to me or delivered by other means.

(D) No Waiver by Nota Holder

Evan if, ate tins when 1] am ta defaull, the Note Holder doos not require mo fo pay immediately in full as
described above, the Note Holder will si!) kave the right to do so LPT wm tn dafanll xt 2 later Ge,

(8) Paymant of Note Holder's Costs and Bxpenses

If the Note Holder bax required ma to pay famediately in full as described ubove, the Note Holder will bave
tha night to be paid back by me for all of tis costa and expenses In enforcing thly Note to ihe extent not problbited hy
applicable law, Those expenses include, for emample, reasonable attomeys’ Fees.

8. GIVING OF NOTICES
Unitas epplicable Jaw requires a diferent method, eny notice that must be given to me under thls Nolo will be
ye ie Re i cy bobbie bery mall {ome al the Property Address above or ala differant addrats
ae idee a notice of my different address,
that must be given to the Note Holder under this Note will be given by dalivering it or by malling
witiy ee cae matic fea Pike teen tae eee Section S(A) above or al a different address If] am
given o notien of that difforent address,

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE
If more (han one ears eae der tandiumen ed ke eet eae

 

promow touts in this Nols, Sncduing the promise (a pay the full amount owed, Any pa dll mt

Sty ot eaderoes of ts Node fo sn obtiohed io do (ieee things, Any person who over these obligations,

Borrower IsiGals: Px

TRULTINTATE ADJUSTABLE RATE NOTE - G-Monih 1B Boahhegit Teen
in wre, irenreg n80in

Mingle Famty-fe dae ro MODIFIED WSTROMENY sas

 

 

 

 

 

 
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inclodiog Lhe chligatons of a gasrantor, surely or andocser of this Note, Js also obligated Lo Keep all of the promises
mada in this Note. Tha Note uy enforce {ls rights andar chis Note againet each pereon Individually or spainst
oll of us togethar. This mears that any one of us may be required (0 pay all of tha amounts owed under this Note.

10, WAIVERS

1 and any other perton who has obligations under hts Note waive the rights of Presstmant and Notice of
Dishonor. “Presentment” moms the right to require tha Note Holder 10 deraaod paymeat of arcouats des, “Notice
Ne a eae ELIAS BIE IRENA Seana Nees me

11. UNIFORM SECURED NOTE
This Note ie « uniform instrument with Heited vartatfens in sorme firisdicdons. In addition tothe protecitoos
sr to tha Note Holder under Ukis Note, a Mortgage, Deed of Trust, or Security Deed (the "Securtty Instrument’),
ted the mume date 2x this Note, protects the Note Holder from posalbls losses witch might result IFT do not keep
the promises which I make in this Note, Thad Security Inttrumant describes how and onder what cendillons I may
> a a ete payee Fel a 0 serene nine Rl eles: ene of Res eae
paved 38 We

Transfer of tha Property or a Beneficial Interest in Borrower, Ag used Jn this Section 18,
“Interest in the means any legal or beneficial toterast in the Property, focluding, bot not
Sinited to, those beneficial injerests transferred in a bond [or deed, conteae! for deed, tnstallroant sales
contract or escrow agreement, the Jalent of which is tha Leanafer of ide by Borrower al a future dale to
a purchaser,

; Ifall or any part ofthe Property or any Interest In the Praparty 19 ecld or transferred (or (f Borrower
is nol a natural person and a beanfictal {ntereat in Bocrower ts sold or (ransferred) without Lendar's prior
wriltan consent, Lender may require ipmediats payment In full of all sums secured by this Security
Instrument, However, thts option shall not be exercised by Lender if such oxercisa ir prohibited by
Applicable Lew, Lender also shall nol exercise ths option ift (a) Borrower cautas to be submited to
Lender information required by Lender to svaleate (he fatenied transferes az if s naw loan were being
mada (o Lhe iransferee; and (b) Lender reasonsbly determines nel Lender's security Will al be impaired
by the loan assumption and that ie risk of a breach of any covenant or agreemant in this Securlly
Instrument la acceptable to Lender.

To the extent permitted by Appliceble Law, Lender may cherga a reasonable fee es a condition to
Leniltr's contant tothe loin assumption. Lender may alro require the transferee tu alga ax assuraptlon
ugresmant tha! ts accuplable to Lander mud that obligates tha transfores lo keep all the promises and
agresmanis muds in ths Note and in this Security Instrumen!. Borcowar will contimea to be obligaled
under tke Nolte and ibis Security Lastremeat unless Lender releases Borrower in weidog,

If Lender exercises the option ta require immediate tho full, Lender shall give Borrower
notles of acceleration, The nelice shall pruvide a peticd of nat less than 30 days From Lhe date the notice
ts given fn accordance with Section 15 within which Borrower most ay all nuns scared by this
Secuctty Instrument, If Borrower fails to pay (heve ums prior to the expiration of this period, Lendar
may invoke any resedies permitted by Uds Security Instrument wilhout further notce or demand on
Borrower.

Borrower Intttals: ? xs a

Page 4 of 8

 

 

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WIINESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED

 

 

 

 

 

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ACL see -Dorrower
=e face

Seal) SS pd Seal)

«Borrower +Borrower

[Siga Origtna! Only]

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Q5 Mat-20°3 De

TPM Bavk of Aret cz 2°3-3¢65 692 "#8

 

ALLONGE TO NOTE

LOAN NUMBER 0640520008
LOAN AMOUNT: $274,550.00
PROPERTY ADDREGS:572 PARK STREET, STOVBRTON, HASSACRUSETTA 02072

ALLONGE TO NOTE DATED JUNE 4a, 2604

IN FAVOR OF OPTIMA MORTGAGH CORPORATION
AND EXECUTED BY PAUL JONES
PAY TOTHE ORDER OF

COUNTRYWIDE DOCIMERT CUSTODY SERVICES, A DIVISION OF TREASURY BANK, N.A.

WITHOUT RECOURSHOPTIHA MORTGAGE CORPORATION

 

TWTLE: Karen Hellmich
V.P. of Operations

 

 

 

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simran ae

 

 

 

 
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3 02°32 OM Bark of Ameo ca 212-348-502

PAY TO THE ORDER.OF PAY TO THE ORDER OF ”
COUNTRYWIDE HOME LOANS INC.
WITHOUT RECOURSE WITHOUT RECOURSE
WIDE DOCUMENT CUSTODY seRYices, COUNTRY)/IOE HOME LOANG, INC.
A DIVISION OF TREASURY BANK, NA
- ay.
r A. Bpactor
VICE PRESIDENT Managing Ditactor,

A's OL Obatng a:

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PREPAYMENT ADDENDUM TO NOTE

Loan Number: (0008
Date: JUNE 22, 2004
Borcower(s): PAUL JONES

THIS PREPAYMENT ADDENDUM TO NOTE (the “Addendum'} is made this §=22nd day of

JUNE, 2004 . and Js Incorporated into aud shall be deemed (o amend and
that certain pany aes (ths "Note") made by the undersigned (“Borrower") in favor of OPTIMA
MORTGA: co. RATION

("Lender") and dated the same date as this Addendum. Repayment of the Note is secured by a Morlgage, Deed of
Trust, or Security Deed (the "Security Instrument") given by Borrower [n favor of Lender and dated tho same date
as thls Addendum. To the exlent that the provisions of this Addendum are inconsistent wlth the provisions of the
Noie, the provisions af this Addendum shall supersede the inconsisten! provisions of the Note,

ADDITIONAL COVENANTS. In sddition to the covenants and agreements made in the Nole, Borrower
and Lender further covenant and agree as follows:

Section 5 of the Note is amended to read in its entirety as follows:

5 . BORROWER'S RIGHT TO PREPAY; PREPAYMENT CHARGE

| have the right to make payments of Principal at any time before they are due, A payment
of Prlucigal only is known as a “Prepayment,” When | make a Prepayment, I will tefl the Note
Holder fo writing thai I am doing sv. I may nol designate a payment as a Prepayment if | have not
made all the monthly payments dae under the Note.

‘The Note Holder will use my Prepayments to reduce the amount of Principal that I owa
under the Note. However, Ure Note Holder may apply my Prepayment to the acented and unpaid
interest on the Prepayment emoum, before applying my Prepayment jo reduce the Principal amounl
of the Note, If T meke a partlal Prepayment, there will be no changes In the due dates of my
monthly payment onless tha Nole Folder agrees in writhhg lo thase changes,

Ifthe Note provides for changes in the interest rate, my partial Prepsymanl nray reduce the
amount of my mosthly payments alter the Hirst Change Date following my partial Prepayment.
However, iets er my partial Prepayment may be offsel by an interest vate increasa.

If] makea full Prepayment of the Note before the date fixed for payment, ] will al the
samo {ime pay a Prepayment charge equal to the balance of the first year’s interest or three (3)
mooths' Interest, whichever is less; pravided, however, that If 1 make a full Prepayment within
TWENTY-PAXR ( 24 ) months from the date of the Note for the purpose of refinancing
with ee eel Prepayment charge equal (o three (3)

ni I

592 PPP @@i @ait

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MASSACHUSETTS PREP PREPAYMENT ADDENDUM TO MOTE, COLE. 176,
‘age 1 of 2 asin aay Bes 7

py.

 

 

 

 

 

 
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BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this

Led yee oly
PAUL 3 al Borrower Dale

Borrower Date Bonower Date

 

 

 

 

 

Horrower Date Borrower Dale

 

MASSACHUSETTS PREPAYMENT ADDENDUM TO NOTE DooMagle Mamma 80-419-
8/03 Page 2 of 2 evmrtcaegic carn

 

 

 
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EXHIBIT B
Case 1:20-cv-10800-FDS Document 10-1 Filed 07/30/20 Page 37 of 39

EXHIBIT 2

William N. Albright affidavit for
Notary Sandra Robinson
Case 1:20-cv-10800-FDS Document 10-1 Filed 07/30/20 Page 38 of 39

INVESTIGATIVE RESEARCH ASSOCIATES
P.O. BOX 832947
RICHARDSON, TX 75083-2947
972-889-3333
972-889-3338 (FAX)

AFFIDAVIT OF WILLIAM N. ALBRIGHT

MY NAME IS WILLIAM N. ALBRIGHT. I AM OVER THE AGE CF 13 YEARS AND
CAPABLE GF SHAKING THIS AFFIDAVIT. I AM THE OWNER AND MANAGES CF
INVESTIGATIVE | RESEARCH ASSOCIATES, GG. BOM &22s4", FITHARIEOK,

TEXAS 75083.

ON OCTOBER - 30, 2012, i RECEIVED LEGAL COURT OGOCTMENTS To
SERVED TO ‘SANDRA J. ROBINSON . 1 PERSOUALEY DELIVERED TH
PAPERS, OB ‘BEHALF OF. MY CLIENT, “PREL 3 SOMES, TO ME. SLEINSIN AT
HER RESIDENCE OF. 2390 OM 455, AUBREY, TK, 7T@ZZ7, ON L1-1-22, AT
APPROXIMATELY. 7230 P.M. MS. ROBINSON ACCEPTED THE DOCTMENTS
WITHODT INCIDENT, BND WAS FRIENDLY AND COCPERATIVE IUPINS 2.
INTERACTION ABD CONVERSATION BITH HER.

 

   
      

scree ce Tan oe AND PRIOR TO THIS

erus. i ene
EMPLOYEE FOR (COUNTRYWIDE MORTGAGE /BANK OF SMERICR, ANT
LOTS OF DOCEMENTS , “SOMETIMES AS MANY AS 252 PER DRY.
SHILE A? COMTRIWIDE /BANK or GA, MS. ROBINSON SAIE THAT SHE

MADE NO EPPoRT TO KEEP AB ROTARY LGG OF EVERY IGCUMENT IE SISNED,
THIS WOULD HAVE BEEN TOO OIFFICULT, AND SHE 227 NOT EEE? oe 2
DOCUMENTS SHE NOTARIZED. IF. THERE WERE SOCH A No Le
WOULD BE IN THE SOSSESSION OF COUNTRYBIDE MORTGAGE 2
AMERICA. {AFTER ACKNOWLEDGING THIS TC TS, MS.
CLEAR TO Os, SEAT IF rT. GAS REPEATED TO ANYONE,
EVER SAYING tr, | oo

   

RE SHOWED 2S. ROBINSON. ‘A COPY OF THE ASSIGHMEXT {
@HICH WAS HOTARIT ZED. BY MS. ROBINSON, AND CATED ==25 TIE.
ACKROSLEDGED THAT TIPFARY SKAIFE CHANGED TRE DATE ON THE

  

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s “ tr anes me owns see ey meee

e DOCUMENT. SPECIFICALLY, MS. ROBINSON SAID THAT THE WAY THE

2 NUMERAL “8° WAS MADE, WAS NCT TYP ZCRL OF HOW SHE WITLI MAME TEE
. WUMRERAL °8." SHE WOULD HAVE MADZ iT WITH TWO CIRCLES ON Tl? oF
ts BACH OTHER. NOP THE WAY IT HAS Daan SHE REITERATED SEVERAL
gS TIMES, TRAT. SHE DID HOT CHANGE TEE DATE &, THEE WAY TRE IATE ITs

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WRITTEN IS NOT HER HANDWRITING.
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Case 1:20-cv-10800-FDS Document 10-1

FINALLY, MS. ROBINSON SAIS THAT TIFFANY

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IN BACK CF HER AT CO UNSRYWEDE RORTCASE,

‘awe

WOULD FREQUENTLY HAND HER AS MANY AS FIVE DCOUMENTS AT A TIME

MAD BS oi

HER TO NOTARIZE, AND THAT SHE WOCLO NOTARIZE THEM @LTROUT LOGE

AT THEM, OR FILLING OUT A NOTARY Los.

 

Filed 07/30/20 Page 39 of 39

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BTPT Mama eT Taare Teapot

<a ane)

I SOLEMLY SWEAR AND AFFIRM THAT THIS AFrICAVIT IS TRL ANS

CORRECT.

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ANH * PARA
Coramasscn Expres
May 23 2 2273

 
